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IN THE UNITED STATES DISTRICT COURT FOR THES 5
EASTERN DISTRICT OF WISCONSIN 1b

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UNITED STATES OF AMERICA, ) STE ERK
)
Plaintiff, )
-v- ) Case No. 1:17-cv-01740-WCG
)
GARY LEE PANSIER TRUST and ) AFFIDAVIT OF FACT
JOAN R. PANSIER TRUST, )
)
Defendants. )
AFFIDAVIT OF FACT

 

Gary Lee Pansier, Authorized Representative of GARY LEE PANSIER, TRUSTEE for
GARY LEE PANSIER TRUST, and Joan R. Pansier, Authorized Representative of JOAN R.
PANSIER, TRUSTEE for JOAN R. PANSIER TRUST, hereinafter your “Affiants” being first
duly sworn, depose and say that: All facts stated herein are true, correct and certain, to the best of
our knowledge:

STATEMENT OF FACT

1. Your Affiants are the Grantor/Beneficiary of any Legal Case arising as a result of or in
conjunction with this prima facie evidentiary statement of facts where your Affiants are deemed
or determined to be Defendants;

2. Your Affiants do not conduct business within the judicial jurisdiction, do not reside in

the judicial jurisdiction except as NON-RESIDENT ALIENS; have not committed any statutory

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violations in either the State, County, City, Municipal or judicial jurisdiction; nor colluded or
agreed to participate in any conspiracy of any nature with anyone else. Nor have your Affiants
been made of any proof to the contrary;

3. Your Affiants are not aware nor have your Affiants knowingly participated in any
violation of any state statute, any crimes, any torts or acts deemed as state or federal offenses; nor
have your Affiants knowingly colluded or conspired with anyone for any reason of criminal
intent or otherwise; nor are your Affiants aware of any proof to the contrary;

4. Your Affiants have not caused nor allowed, nor did your Affiants permit or authorize
or perform any act or action of any sort regarding FRAUD or intent to commit FRAUD; nor did
your Affiants willfully, unlawfully, feloniously, knowingly, and or intentionally purport to
engage in any activity which would cause any breach of contract regarding any contracts, and or
agreements, specific or non-specific of any proof to the contrary;

5. You Affiants have not caused or allowed or acted in contrary to the form, force and
effect of 28 U.S.C.§§ 1331 and 1391 made and provided, or against the peace and dignity of the
State of Wisconsin; nor did your Affiants permit or authorize of perform any act in violation of
28 U.S.C.§§ 1331 and 1391, and, to date, are unaware of any proof to the contrary.

6. Your Affiants are Trustees appearing specially on behalf of a Trust.

7. On August 4, 2000, the Internal Revenue Service (hereinafter “IRS”) sent a Notice of
Deficiency for the tax years 1995, 1996, 1997 and 1998 to the Affiant, Gary Lee Pansier by
USPS Certified Mail #7099 3400 0007 5796 4723. After issuing the Notice of Deficiency, the
IRS made no attempt to collect tax liabilities until March 3, 2008. (See Exhibit “A”)

Disclaimer: The Affiants have not knowingly, purposely or intentionally engaged in an activity

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which would create a binding contract and are unaware of any law, statute or contract that
requires payment without agreement. To date, Affiants are unaware of any proof of obligation to
the contrary.

8. The IRS did not send a Notice and Demand to the Affiant, Gary Lee Pansier within 60
days following the alleged assessment on February 26, 2001 for 1995, 1996, 1997 and 1998. The
IRS did not serve any notices or correspondence to the Affiant Gary Lee Pansier from August 4,
2000 until March 3, 2010 regarding tax years 1995 through 1998. Disclaimer: The Affiants have
not knowingly, purposely or intentionally engaged in an activity which would create a binding
contract and are unaware of any law, statute or contract that requires payment without
agreement. To date, Affiants are unaware of any proof of obligation to the contrary.

9. On January 26, 2006, the Affiant, Gary Lee Pansier was arrested absent a warrant and
was taken to the Brown County Jail in Green Bay, Wisconsin. The government claimed they had
a 31-count indictment against him for violations of 18 U.S.C.§341 and 26 U.S.C.8§7206 and
7212. After the arraignment, the Affiant was released on his own recognizance after being
incarcerated for seven (7) days. Disclaimer: The Affiants have not knowingly, purposely or
intentionally engaged in an activity which would create a binding contract and are unaware of
any law, statute or contract that requires payment without agreement. To date, Affiants are
unaware of any proof of obligation to the contrary.

10. On April 26, 2006, the Affiant was detained once again for seven (7) weeks for
Contempt of Court because he refused to provide the government with signature and handwriting
exemplars in order to put their case “in a better posture.” The Court ruled that the Affiant would

be incarcerated indefinitely and fined $1,000 a day until he agreed to aid the government in

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prosecuting the government’s case against him. The Affiant did not provide the Court with any
signature or handwriting exemplars and was released on June 5, 2006 on his own recognizance
and no fines were imposed against him. Disclaimer: The Affiants have not knowingly, purposely
or intentionally engaged in an activity which would create a binding contract and are unaware of
any law, statute or contract that requires payment without agreement. To date, Affiants are
unaware of any proof of obligation to the contrary.

11. On August 5, 2006 a bench trial was held but the Court could not determine whether
or not the government had proved their case beyond a reasonable doubt and requested additional
briefs from both parties in order to determine if the element of fraud existed. Following the
submission of briefs, the presiding judge recused himself and there was no further action on the
case until January 26, 2007 when they designated a different judge who re-arrested the Affiant
six weeks after he had a undergone a total hip replacement. The U.S. Marshalls took away all the
Affiants’ medical aids and prescription medication and discontinued the prescribed physical
therapy sessions. The retrial did not take place until ten (10) months later, on June 18, 2007 in
violation of the Speedy Trial Act. Disclaimer: The Affiants have not knowingly, purposely or
intentionally engaged in an activity which would create a binding contract and are unaware of
any law, statute or contract that requires payment without agreement. To date, Affiants are
unaware of any proof of obligation to the contrary.

12, On October 26, 2007, the Affiant was sentenced to twenty-four (24) months
incarceration and was released on August 26, 2008. The Court did not impose any fines or
restitution on the Affiant, based on the economic reality principle and the fact that there was no

tax loss to the government. Disclaimer: The Affiants have not knowingly, purposely or

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intentionally engaged in an activity which would create a binding contract and are unaware of
any law, statute or contract that requires payment without agreement. To date, Affiants are
unaware of any proof of obligation to the contrary.

13. On January 8, 2008, the Affiant experienced severe chest pain in the Kenosha County
Jail and after seven (7) hours was taken to intensive care at Kenosha Medical Center. Against
the directives of the attending physician, the Affiant was returned to Kenosha County Jail five (5)
days later and, once again, his prescribed medication was taken away by the government.
Disclaimer: The Affiants have not knowingly, purposely or intentionally engaged in an activity
which would create a binding contract and are unaware of any law, statute or contract that
requires payment without agreement. To date, Affiants are unaware of any proof of obligation to
the contrary.

14. On the same day the Affiant was released from prison, the IRS issued a levy on
100% of the Affiant’s income for the alleged tax liabilities going back thirteen (13) years. As a
condition of supervised release, the Affiants were ordered to file tax returns for 1999, 2000,
2001, 2002, 2003, 2004, 2005 and 2006. Disclaimer: The Affiants have not knowingly,
purposely or intentionally engaged in an activity which would create a binding contract and are
unaware of any law, statute or contract that requires payment without agreement. To date,
Affiants are unaware of any proof of obligation to the contrary.

15. On October 17, 2008, the IRS began levying 100% of the Affiants’ airline pension
benefits from Prudential Insurance Company for 1995, 1996, 1997, 1998 in the amount of
$158,322.50 without notifying the Affiants. (See Exhibit “B”) Disclaimer: The Affiants have not

knowingly, purposely or intentionally engaged in an activity which would create a binding

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contract and are unaware of any law, statute or contract that requires payment without
agreement. To date, Affiants are unaware of any proof of obligation to the contrary.

16. On November 6, 2008, the Affiants discovered through their Land Shark account
that the IRS had filed a Notice of Federal Tax Lien on June 8, 2008 with the Register of Deeds in
Marinette County, Wisconsin for 1995 through 1998 without notifying the Affiants. (See Exhibit
“C”) Disclaimer: The Affiants have not knowingly, purposely or intentionally engaged in an
activity which would create a binding contract and are unaware of any law, statute or contract
that requires payment without agreement. To date, Affiants are unaware of any proof of
obligation to the contrary.

17. On November 12, 2008, the Affiants were forced into bankruptcy because the IRS
was taking 100% of their income and the automatic stay went into effect. Disclaimer: The
Affiants have not knowingly, purposely or intentionally engaged in an activity which would
create a binding contract and are unaware of any law, statute or contract that requires payment
without agreement. To date, Affiants are unaware of any proof of obligation to the contrary.

18. On December 29, 2008, the IRS filed a Motion for Relief from Stay to Allow the
Internal Revenue Service to Continue Levying the Debtors’ Pension. (See In Re Gary Lee

Pansier, et. al, Case No. 08-32400-svk, U.S. Bankruptcy Court, EK-WI, Docket #8) The

 

purpose of this motion was to obtain relief from the stay in bankruptcy court in order to continue
levying the Affiants’ airline pension; however, they failed to inform the Court that the levy was

in violation of the stay in effect in the Tax Court Case, Docket No. 15849-06 and the Tax Court

 

maintained jurisdiction over tax years 1996 through 2006 at this time. Disclaimer: The Affiants

have not knowingly, purposely or intentionally engaged in an activity which would create a

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binding contract and are unaware of any law, statute or contract that requires payment without
agreement. To date, Affiants are unaware of any proof of obligation to the contrary.

19. On March 24, 2009 the U.S. Trustee filed a Motion to Extend the Time to Object to
the Debtors’ Discharge in order to conduct a Bankruptcy Rule 2004 Examination on the Affiants
for the purpose of determining whether or not the Affiants had a beneficial interest in the real
property under the name of Sheffield Crest Trust. (See In Re Gary Lee Pansier, et. al, Case No.
08-32400-svk, U.S. Bankruptcy Court, EK-WI, Docket #28) On February 18, 2009, the Court
ordered the Affiants to produce to the Trustee, “all documents in their possession, custody or
control (or the possession, custody or control of their attorneys, accountants or other agents)
concerning the Sheffield Crust (sic) Trust, including the entire trust document, the lease between
the Trust and the Debtors, and any other documents related to any other trusts of which the
Debtors are or were grantors or beneficiaries from January 1, 2003 to the present.” (See In Re
Gary Lee Pansier, et. al, Case No. 08-32400-svk, U.S. Bankruptcy Court, EK-WI, Docket #30)

The Trustee requested addition time to review the documents; however, the Bankruptcy
Court denied their motion stating they had ample time to review the documents and the Debtor’s
discharge should be promptly issued. (See In Re Gary Lee Pansier, et. al, Case No. 08-32400-
svk, U.S. Bankruptcy Court, EK-WI, Docket #48) Disclaimer: The Affiants have not knowingly,
purposely or intentionally engaged in an activity which would create a binding contract and are
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20. On April 23, 2009, the government filed their WITHDRAWAL OF UNITED
STATES OF AMERICA’S MOTION TO MODIFY STAY TO ALLOW THE INTERNAL
REVENUE SERVICE TO CONTINUE LEVYING THE DEBTORS PENSION PLAN due to
the fact that the levy was unlawful and the wrongfully seized funds would have to be returned to
the Affiants. On May 1, 2009, the IRS issued a Release of Levy because it was unenforceable
and returned the funds to the Affiant four (4) years later on May 5, 2013. (See In Re Gary Lee
Pansier, et. al, Case No. 08-32400-svk, U.S. Bankruptcy Court, EK-WI, Docket #50)
Disclaimer: The Affiants have not knowingly, purposely or intentionally engaged in an activity
which would create a binding contract and are unaware of any law, statute or contract that
requires payment without agreement. To date, Affiants are unaware of any proof of obligation to
the contrary.

21. The Notice of Federal Tax Lien filed on June 6, 2008 was unenforceable for the
same reason as the Notice of Levy; however, on September 11, 2009, the IRS determined that
“withdrawing the Notice of Federal Tax Lien would not be appropriate.” The NFTL was allowed
to expire on March 28, 2011. Two years later, on March 25, 2013, the IRS Centralized Case
Processing-Lien Unit issued a Revocation of Certificate of Release of Federal Tax Lien certifying
that once again a mistake was made in allowing a NFTL against the Affiant was released and a
new NFTL was filed on the tax periods of 1995-1998, arbitrarily extending the ten (10) year
Statute of Limitations on collection to twenty (20) years, until 2021. (See Exhibit “D”)
Disclaimer: The Affiants have not knowingly, purposely, or intentionally engaged in an activity
which would create a binding contract, and are unaware of any law, statute or contract that

requires payment without agreement. To date, the Affiants are unaware of any proof of

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obligation to the contrary.

22. On May 12, 2009, the Affiants received a discharge in bankruptcy court. The IRS did
not file a Proof of Claim or objection to the discharge. The acting Trustee determined that the
Affiants were insolvent; there were no assets in the estate to be distributed to any creditors, and a
discharge under 11U.S.C.§727 was granted on Bankr. No. 08-032400-svk, with no exceptions to
discharge appearing in the order. (See Exhibit “E”) Disclaimer: The Affiants have not
knowingly, purposely or intentionally engaged in an activity which would create a binding
contract and are unaware of any law, statute or contract that requires payment without
agreement. To date, Affiants are unaware of any proof of obligation to the contrary.

23, On May 21, 2009, the Affiants’ case was dismissed in the pending Tax Court, Docket
No. 15849-06 Gary lee Pansier v. C.LR., for lack of jurisdiction, based on the Notice of
Objection by Senior IRS Counsel George Bezold who made the statement, “[W]ith respect to the
years 1999 through 2006, no notice of deficiency authorized by LR.C.§6212 or any collection
due process notice under I.R.C.§§ 6320 or 6330 was mailed to petitioner and petitioner currently
owes no amount for those years.” Attorney Bezold also determined that the June 6, Notice of
Federal Tax Lien and the June 5, 2008 Final Notice of Intent to Levy for 1995-1998 were sent to
the wrong addressed and would have to be reissued. (See Exhibit “F”) Disclaimer: The Affiants

have not knowingly, purposely or intentionally engaged in an activity which would create a

 

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24, On December 2, 2009, the Affiants filed an Adversary Proceeding in the form of a
complaint against the Internal Revenue Service to obtain a discharge of tax liabilities for 1995
through 2006. (See In Re Gary Lee Pansier, et. al, Case No. 09-02450-SVK, U.S. Bankruptcy
Court, EK-WI) No one in the IRS has issued a declaration or sworn statement attesting under
penalty of perjury that the Affiants had a tax liability for the years at issue. Disclaimer: The
Affiants have not knowingly, purposely or intentionally engaged in an activity which would
create a binding contract and are unaware of any law, statute or contract that requires payment
without agreement. To date, Affiants are unaware of any proof of obligation to the contrary.

25, The Affiants have never been served with a notice from the IRS certifying under
penalty of perjury that they have a liability to the U.S. Treasury or a notice certifying an amount
due and owing for the tax periods of 1995 through 2006. Disclaimer: The Affiants have not
knowingly, purposely or intentionally engaged in an activity which would create a binding
contract and are unaware of any law, statute or contract that requires payment without
agreement. To date, Affiants are unaware of any proof of obligation to the contrary.

26. The Bankruptcy Court in the adversary proceedings did not reach the issue of the
Affiants’ liability or what amounts were due and owing to the IRS. The Memorandum Decision
was based on whether or not judicial estoppel should apply when the IRS used one set of facts to
obtain a win in the previous tax court case, and a different set of facts to obtain an exception to
discharge. The Court excused the mistakes of Senior Counsel Bezold and the IRS were excused
as inadvertent blunders. (See In re Pansier, et.al., U.S. Bankruptcy Court, ED-WI, Adv. Case No.
09-02450) Disclaimer: The Affiants have not knowingly, purposely or intentionally engaged in

an activity which would create a binding contract and are unaware of any law, statute or contract

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that requires payment without agreement. To date, Affiants are unaware of any proof of
obligation to the contrary.

27. The Court also excused the inadvertent blunders of the U.S. Department of Justice
Trial Attorney Counsel Grayson Hoffman who maintained that when an Account Transcript for
taxpayers show a RETURN DUE DATE OR RETURN RECEIVED DATE (WHICHEVER IS
LATER) , this does not mean that this was the date that the IRS actually receives a return due to
a “glitch in the system nationwide that has since been fixed.” The District Court also determined
that the RETURN RECEIVED DATE is the date that the IRS filed its Substitute for Returns for
tax periods of 1995 through 1998. This means that when the IRS did not receive a return on
April 15, 1996 for the tax period of 1995, it immediately filed a Substitute for Return on April
22, 1996. Based on this premise, the decision of the Bankruptcy Court was affirmed.
Disclaimer: The Affiants have not knowingly, purposely or intentionally engaged in an activity
which would create a binding contract and are unaware of any law, statute or contract that
requires payment without agreement. To date, Affiants are unaware of any proof of obligation to
the contrary.

28. On March 5, 2010, the Affiants received an IRS Form CP90, Final Notice of Intent to
Levy for tax periods of 1995-2006. On March 8 2010, they filed IRS Form 12153 requesting a
Collection Due Process Hearing consisting of a face-to-face hearing. The Affiants did not
receive a face-to-face hearing and did not receive a hearing at all until February 17, 2012. (See
Exhibit “G”) Disclaimer: The Affiants have not knowingly, purposely or intentionally engaged
in an activity which would create a binding contract and are unaware of any law, statute or

contract that requires payment without agreement. To date, Affiants are unaware of any proof of

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obligation to the contrary.

29. In the February 17, 2012, letter received from Settlement Officer Anthony
Diamantopolous he stated that had reviewed the information contained in the administrative file
and that all legal and administrative requirements had been met pertaining to tax periods 1995
through 2006. S.O. Diamantopolous did not provide documentary evidence of any computer
records, internal records, court records, or administrative files to the Affiants in the collection
due process hearing, or with the Notices of Determination issued on January 8, 2013. (See
Exhibit “H”) Disclaimer: The Affiants have not knowingly, purposely or intentionally engaged
in an activity which would create a binding contract and are unaware of any law, statute or
contract that requires payment without agreement. To date, Affiants are unaware of any proof of
obligation to the contrary.

30. Settlement Officer Diamantopoulos determined that the Affiants were not entitled to
a §6320 collection due process hearing because the NFTL was filed in 2008 and “well past the
deadline for requesting a timely CDP or an equivalent hearing” even though he was well aware
that the Affiants could not possibly made a timely request for a Collection Due Process Hearing
when the Notice of Federal Tax Lien filing for 1995 through 1998 was never sent to them.
Disclaimer: The Affiants have not knowingly, purposely or intentionally engaged in an activity
which would create a binding contract and are unaware of any law, statute or contract that
requires payment without agreement. To date, Affiants are unaware of any proof of obligation to
the contrary.

31. On January 8, 2013, S.O. Diamantopoulos issued the Notices of Determination

sustaining levy action for tax periods 1995 through 2006 claiming the Affiants had submitted

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“questionable documentation” along with their Offer in Compromise on April 12, 2012. (See
Exhibit “I’) Disclaimer: The Affiants have not knowingly, purposely or intentionally engaged in
an activity which would create a binding contract and are unaware of any law, statute or contract
that requires payment without agreement. To date, Affiants are unaware of any proof of
obligation to the contrary.

32. . On February 4, 2013, the Affiants sent the Settlement Officer their notarized
Affidavits of Truth by USPS Certified Mail #7011 2970 0002 3946 1268, and received by S.O
Diamantopolous on February 7, 2013. Within the Affidavits was their request to meet with the
SO and give him an opportunity to produce certified and authenticated copies of the actual
CP504 notices that he claimed were “forged or altered” when the Affiants paid them on
November 11, 2009 for the purpose of “swaying the settlement officer to accept their offer-in-
compromise in 2012.” (See Affidavits of Truth by Gary Lee Pansier and Joan R. Pansier Exhibit
“J”) Disclaimer: The Affiants have not knowingly, purposely or intentionally engaged in an
activity which would create a binding contract and are unaware of any law, statute or contract
that requires payment without agreement. To date, Affiants are unaware of any proof of
obligation to the contrary.

33. The Affiants clearly stated in the Affidavit of Truth that the settlement officers’
failure to agree to this meeting or respond to the affidavit is an admission that he intentionally
made false and libelous accusations in the Notices of Determination. S.O. Anthony
Diamantopolous did not respond to the Affidavits or attempt to contact the Affiants. S.O.
Diamantopolous did not provide a counter affidavit to challenge or controvert the allegations of

fact by the Affiants. In the absence of any counter affidavit, the facts in the Affiants’ affidavits

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are deemed to be admitted as true, correct and deemed established. Therefore, each and every
statement made in Notices of Determination made by S.O. Anthony Diamantopolous on January
8, 2013 is null and void and any type of collection activity on the part of the IRS cannot be
sustained. Disclaimer: The Affiants have not knowingly, purposely or intentionally engaged in an
activity which would create a binding contract and are unaware of any law, statute or contract
that requires payment without agreement. To date, Affiants are unaware of any proof of
obligation to the contrary.

34, On January 29, 2013, the Affiants filed their petition in Tax Court based on the un-
controverted evidence that the Milwaukee Appeals Office issued Notices of Determination based
on false allegations and it was an abuse of discretion when the settlement officer withdrew the
Affiants’ Offer-in-Compromise that was being processed by the Memphis COIC. The Appeals
Office participated in prohibited ex parte communication with IRS employees; failed to utilize
law or judicial decisions to weigh facts; failed to render an independent or unbiased decision, and
violated the Anti-retaliation policy after documented evidence was presented to them. In their
decision, the Tax Court used an inappropriate standard of review in order to discredit the Affiants
and used disparaging personal remarks that were unwarranted. The Tax Court admitted that
“[T]he record here is uncertain and disputed between the parties but ultimately made a
speculative a post-hoc rationalization that a remand by this Court for the purpose of
reconsideration would be futile and unproductive” based on what the Court perceived was the
wrong attitude which somehow disqualified the Affiants from their right to due process or the

opportunity to submit an Offer-in-Compromise in order to obtain a fresh start. Disclaimer: The

 

Affiants have not knowingly, purposely or intentionally engaged in an activity which would

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create a binding contract and are unaware of any law, statute or contract that requires payment
without agreement. To date, Affiants are unaware of any proof of obligation to the contrary.

35. On February 27, 2015, Affiants appealed the Tax Court decision to the 7” Circuit
Court of Appeals. (See Gary Lee Pansier, et. al., v. CLR., No. 15-1386) Ina
NONPRECEDENTIAL DISPOSITION, the Appeals Court affirmed the decision of the Tax
Court based on an alternative ground that “Pansiers’ submitted questionable documents” in the
Collection Due Process Hearing even though there were no affidavits or declarations submitted
by the Commissioner of Internal Revenue that controverted any of the Affidavits submitted by
the Affiants or the testimony of the Forensic Document Examiner that the CP504 Notices had not
been altered or forged in any way. (See Exhibit “K”) Disclaimer: The Affiants have not
knowingly, purposely or intentionally engaged in an activity which would create a binding
contract and are unaware of any law, statute or contract that requires payment without
agreement. To date, Affiants are unaware of any proof of obligation to the contrary.

36. On July 19, 2017, the Affiants received a letter from Ryan Benson, Revenue
Officer representing the Internal Revenue Service, 440 Security Boulevard, M/S 5224 GRB,
Green Bay, Wisconsin 54313, The revenue officer claimed he had evidence that “[A]ecording to
our records, it appears you have property in the name of Sheffield Crest Trust. I have not been
able to find any documentation for the Sheffield Crest Trust, and so I am requesting that you
provide me with the trust documents pertaining to the trust. I would appreciate it if you could
mail those documents to me at the address listed on this letter. If you do not provide those

documents, I will assume that there are no trust documents and proceed accordingly.” (See

 

Exhibit “L”) Disclaimer: The Affiants have not knowingly, purposely or intentionally engaged in

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an activity which would create a binding contract and are unaware of any law, statute or contract
that requires payment without agreement. To date, Affiants are unaware of any proof of
obligation to the contrary.

37, On August 4, 2017, the Affiants responded to Revenue Officer Benson’s letter by
USPS Certified Mail #7016 1370 0000 3812 9929. The letter requested an clarification as to the
revenue officer’s statements because initially he claimed that records show that the Affiants have
property in the name of Sheffield Crest Trust, then contradicted his own statement by claiming he
was unable to find any documentation for the trust. (See Exhibit “M”) Disclaimer: The Affiants
have not knowingly, purposely or intentionally engaged in an activity which would create a
binding contract and are unaware of any law, statute or contract that requires payment without
agreement. To date, Affiants are unaware of any proof of obligation to the contrary.

38. The Affiants provided RO Benson with evidence that the doctrines of res judicata
and collateral estoppel precluded him from revisiting or re-litigating the issue of whether or not
the Affiants have a beneficial interest in Sheffield Crest Trust and provided him their own court
cases that verifies this position. The revenue officer was informed that these proceedings are a
matter of public record that are accessible to him and can easily be verified. The Affiants
requested a copy of the evidence that RO Benson was relying upon by August 26, 2017;
otherwise, they would conclude that no such evidence exists and his threats are based on nothing
more than a frivolous attempt to harass and intimidate us which is exactly the type of IRS tactics
the essential doctrines of res judicata and collateral estoppel were designed to prevent.

Disclaimer: The Affiants have not knowingly, purposely or intentionally engaged in an activity

 

which would create a binding contract and are unaware of any law, statute or contract that

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requires payment without agreement. To date, Affiants are unaware of any proof of obligation to
the contrary.

39. Instead of responding to the August 4, 2017 letter or providing Affiants with
evidence of his allegations that they had property in the name of Sheffield Crest Trust, on August
9, 2017, RO Benson served IRS Form 6680W(ICS) Notice of Levy to their pension provider
Prudential Insurance Company demanding they direct 100% the monthly benefits to the IRS and
filed a Notice of Federal Tax Lien with the Register of Deeds in Marinette, Wisconsin on
September 26" on 1999 through 2006. Disclaimer: The Affiants have not knowingly, purposely
or intentionally engaged in an activity which would create a binding contract and are unaware of
any law, statute or contract that requires payment without agreement. To date, Affiants are
unaware of any proof of obligation to the contrary.

40. The Affiants had no knowledge of the fact that the IRS had seized 100% of their
monthly pension benefits until the received the attached letter from Prudential Insurance
Company of America Defined Benefits Participant Department on August 9, 2017. (See Exhibit
“N”) Disclaimer: The Affiants have not knowingly, purposely or intentionally engaged in an
activity which would create a binding contract and are unaware of any law, statute or contract
that requires payment without agreement. To date, Affiants are unaware of any proof of
obligation to the contrary.

41. The Affiants submitted a Freedom of Information (Privacy Act) Request for a copy
of the IRS Notice of Levy served on Prudential Insurance Company. The disclosure officers’

response stated that:

 

 

 

“We completed the research for your requested documents and found that they are

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obsolete. Therefore, we have no documents responsive to your request.” (See
Exhibit “O’)

As of March 9, 2018, Revenue Officer Ryan Benson has seized $28,323.89 of the Affiants’
pension benefits based on a Notice of Levy that the IRS has no record of; pension benefit funds
that have not been credited to any alleged tax liabilities according to the Plaintiffs’ Complaint.
Disclaimer: The Affiants have not knowingly, purposely or intentionally engaged in an activity
which would create a binding contract and are unaware of any law, statute or contract that
requires payment without agreement. To date, Affiants are unaware of any proof of obligation to
the contrary.

42. On September 18, 2017, RO Benson mailed a Summons ordering Affiants to drive
sixty miles to Green Bay, Wisconsin and appear at 9:00 a.m. on October 9, 2017:

“You are hereby summoned and required to appear before RY AN BENSON, an officer of

the Internal Revenue Service to give testimony and to bring with you and to produce for

examination the following books, records, papers, and other data relating to the tax

liability or the collection of the tax liability or for the purpose of inquiring into any

offense connected with the administration or enforcement of the internal revenue laws

concerning the person identified above for the periods shown.

1. Any and all documents relating to Sheffield Crest Trust.” (See Exhibit “P”)

Disclaimer: The Affiants have not knowingly, purposely or intentionally engaged in an activity
which would create a binding contract and are unaware of any law, statute or contract that
requires payment without agreement. To date, Affiants are unaware of any proof of obligation to
the contrary.

43. Before the Affiants were given an opportunity to comply with the Summons to

 

provide thirty-two years of documents, Revenue Officer Benson filed a Notice of Federal Tax

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Lien naming Sheffield Crest Trust as Nominee of Joan R Pansier. (See Exhibit “Q”) Absent from
the Nominee Notice of Federal Tax Lien itself is a legal description of the real property it
allegedly pertains to. Disclaimer: The Affiants have not knowingly, purposely or intentionally
engaged in an activity which would create a binding contract and are unaware of any law, statute
or contract that requires payment without agreement. To date, Affiants are unaware of any proof
of obligation to the contrary.

44, The Summons issued by RO Benson did not comply with the provisions of the
Internal Revenue Code §7603 which requires the Summons to describe with reasonable certainty
the particular papers, records or books; it is overly broad and vague in its demands, and was
initiated for an improper purpose. On October 1, 2017, the Affiants sent a letter to RO Benson
informing him that the issue of whether or not they have a beneficial interest in any real property
was previously determined in the previous bankruptcies in 1990, in 1998, and 2008.
Commencement of a bankruptcy case creates an estate comprises all legal or equitable interests
of a debtor in property pursuant to 11 U.S.C.A. §541(a)(1) as reflected in the sworn schedules
that are submitted in the case; schedules that were provided to RO Benson in response to the
Summons. The Affiants also requested a clarification from RO Benson but he continued to
refuse to respond to any of their correspondence. (See Exhibit “R”). Disclaimer: The Affiants
have not knowingly, purposely or intentionally engaged in an activity which would create a
binding contract and are unaware of any law, statute or contract that requires payment without
agreement. To date, Affiants are unaware of any proof of obligation to the contrary,

45. The attached Office of Chief Counsel Memorandum, dated September 25, 2017 was

 

obtained by the Affiants through a Freedom of Information (Privacy Act) Request. (See Exhibit

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“S”) The Memorandum authorized Revenue Officer Benson to file a nominee lien in the name of
the Sheffield Crest Trust before the Affiants were given an opportunity to comply with the
Summons to provide “[A]ny and all documents related to Sheffield Crest Trust.” Disclaimer:
The Affiants have not knowingly, purposely or intentionally engaged in an activity which would
create a binding contract and are unaware of any law, statute or contract that requires payment
without agreement. To date, Affiants are unaware of any proof of obligation to the contrary.

46. Without waiting for the Affiants to provide requested documents and without ever
looking at the trust or any documents related to Sheffield Crest Trust other than a copy of a 1985
Warranty Deed and an outdated and discredited 1993 Assignee’s DECLARATION of Land
Grant, Attorney Grosenick authorized Revenue Officer Benson to file a nominee lien on
Sheffield Crest Trust. Attorney Grosenick based this authorization on the false presumption that
Sheffield Crest Trust is a revocable trust, that Joan Pansier is a trustee which somehow gives her
a beneficial interest in the trust, even though he admitted that he has no documentary evidence to
support this statement. Disclaimer: The Affiants have not knowingly, purposely or intentionally
engaged in an activity which would create a binding contract and are unaware of any law, statute
or contract that requires payment without agreement. To date, Affiants are unaware of any proof
of obligation to the contrary.

47. In the Chief Counsel Memorandum General Attorney Grosenick relied on case law
from the 1* Circuit, 9" Circuit and a Connecticut Bankruptcy Court and a non-existent
Wisconsin Statute (Wis.Stat. §701.06(6)(a), dealing with settlers who are also beneficiaries.

Again, he admitted that had no documents to show that the Sheffield Crest Trust has other

 

trustees or beneficiaries. Disclaimer: The Affiants have not knowingly, purposely or intentionally

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engaged in an activity which would create a binding contract and are unaware of any law, statute
or contract that requires payment without agreement. To date, Affiants are unaware of any proof
of obligation to the contrary.

48. Attorney Grosenick admitted that he had no documentation to show that a nominee
situation is present; that the trust was created in 1985 for the purpose of tax avoidance; whether
of nott the property was ever used as collateral for a loan; that the Affiants pay the property tax or
maintenance costs Attorney Grosenick never bothered to check the information provided to RO
Benson that would show they did own any real property after September 25, 1985 and they do
not own any real property now. Disclaimer: The Affiants have not knowingly, purposely or
intentionally engaged in an activity which would create a binding contract and are unaware of
any law, statute or contract that requires payment without agreement. To date, Affiants are
unaware of any proof of obligation to the contrary.

49. RO Benson and Attorney Grosenick are both well aware that court records from Jn
re Pansier, 90-20906-JES (Bankr. ED-WI 1990), In re Pansier, 98-27488-JES (Bankr. ED-WI
1998), and In re Pansier, 08-32400-SVK (Bankr. ED-WI 2008), all contain sworn statements of
the Affiants’ personal assets and property, none of which include evidence that Affiants were
trustees or beneficiaries of a trust or have property in the name of Sheffield Crest Trust or any
other trust name. Disclaimer: The Affiants have not knowingly, purposely or intentionally
engaged in an activity which would create a binding contract and are unaware of any law, statute
or contract that requires payment without agreement. To date, Affiants are unaware of any proof

of obligation to the contrary.

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50. On October 4, 2017, the Affiants received a letter from RO Benson informing them
“Gf documents related to the Trust, including any court documents which preclude the IRS from
revisiting or re-litigating the trust issue, you can establish that the Trust is not a fiduciary or
transferee.” (See Exhibit “T”) Disclaimer: The Affiants have not knowingly, purposely or
intentionally engaged in an activity which would create a binding contract and are unaware of
any law, statute or contract that requires payment without agreement. To date, Affiants are
unaware of any proof of obligation to the contrary.

51. On November 6, 2017, the Affiants provided RO Benson with copies of the
Bankruptcy Schedules for In re Pansier, 90-20906-JES (Bankr. Ed-WI 1990), In re Pansier, 98-
27488-JES (Bankr. Ed-WI 1998), In re Pansier, 08-32400-SVK (Bankr. Ed-WI 2008), Schedule
B-1, Real Property Equity Transfer, Certificate of Organization for the Limited Liability
Company, Casey’s Shadow, Bank Resolution and Minutes, Notices in Affidavit Form, and a
Freedom of Information (Privacy Act) Request and Response dated September 5, 2017. (See
Exhibit “U ”) All the documents establish that Sheffield Crest Trust is not a “fiduciary or
transferee” as stipulated by RO Benson. The revenue officer chose not to respond to the
Affiants, and refused to release the Nominee Lien or the Levy on the Affiants’ pension even
when the IRS Disclosure office said a Notice of Levy for 1995 through 2006 does not exist.
Excerpts from the ICS Transcript dated November 15, 2017 shows that “[R]O reviewed the
information and does not quite understand the information provided.” The transcript also shows
that the Summons was closed and not enforced. Disclaimer: The Affiants have not knowingly,
purposely or intentionally engaged in an activity which would create a binding contract and are

unaware of any law, statute or contract that requires payment without agreement. To date,

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Affiants are unaware of any proof of obligation to the contrary.

52. The IRS chose not to respond to the Affidavits provided to them on November 6,
2017 and did not provide a counter affidavit to challenge or controvert the allegations of fact
contained therein. In the absence of any counter affidavit, the facts in the affidavits submitted by
the Affiants are deemed to be admitted as true, correct and establish that Sheffield Crest Trust is
not a Nominee of Joan R. Pansier. Disclaimer: The Affiants have not knowingly, purposely or
intentionally engaged in an activity which would create a binding contract and are unaware of
any law, statute or contract that requires payment without agreement. To date, Affiants are
unaware of any proof of obligation to the contrary.

53, On December 13, 2017, the Plaintiff, United States of America filed an undated and
unverified Complaint to reduce tax assessments to judgment alleging tax liabilities. The
Complaint is asking the Court to enter judgment in favor of the United States and against Gary L.
Pansier and Joan R. Pansier for $272,772.8. As of this writing, the Affiants have yet to be made
factually aware of prima facie evidentiary statement of facts or cause of action on behalf of the
Plaintiff, United States of America. Therefore, the Affiants are unable to admit or deny their
claims, charges or accusations made against them. Disclaimer: The Affiants have not knowingly,
purposely or intentionally engaged in an activity which would create a binding contract and are
unaware of any law, statute or contract that requires payment without agreement. To date,
Affiants are unaware of any proof of obligation to the contrary.

54. Throughout this process, Affiants did realize costs and damages, some of which are
ongoing, damages and costs to be recovered associated within the prosecution of this Affidavit

and are as follows:

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Research - $3,000.00.00

Document Preparation - $2,300.00

Damages - Compensatory, Pecuniary, Punitive (Involuntary Servitude, Wrongful Levy,

Loss of Consortium) - $895,000.00

Total: - $900,300.00

WHEREFORE, Gary Lee Pansier, Authorized Representative of GARY LEE PANSIER,
TRUSTEE for GARY LEE PANSIER TRUST, and Joan R. Pansier, Authorized Representative
of JOAN R. PANSIER, TRUSTEE for JOAN R. PANSIER TRUST submit their NOTICE OF
FILING and AFFIDAVIT OF FACTS to the Court that are true, correct and certain, to the best of
their knowledge.

Dated this 8" Day of March, 2018

By: £47 ZY Ld,
Ga Say Yee Pair, Authorized Representative, ARR

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By: C | oe tee jj PO Caan?
j 200060800709,

Joan R. Pansier, Authorized Representative, ARR we

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NOTARY: Subscribed and affirmed to me on this 4d day of March, 2018, by Gary Lee
Pansier and Joan R. Pansier known to me or proved to me on the basis of satisfactory evidence to
be the person who appeared beforemme.

Signature of Notary: 3 BAD Ate My Commission Expires:_/ 7 ‘7 620

 

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